      Case 2:21-mc-01230-JFC           Document 3344   Filed 05/14/25     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                           )
IN RE: PHILIPS RECALLED CPAP,              )
BI-LEVEL PAP, AND MECHANICAL               )
VENTILATOR PRODUCTS                        )     Master Docket: Misc. No. 21-1230
LITIGATION                                 )
                                           )
                                           )     MDL No. 3014
This Document Relates to:                  )
                                           )
Roberts v. Philips, et al., #23-1027       )
                                           )
                                           )


                                       ORDER OF COURT


       AND NOW this 14th day of May, 2025, in accordance with the memorandum opinion, it

is hereby ORDERED that the renewed motion to remand (ECF No. 22) filed by plaintiff

Nathaniel D. Roberts is DENIED.




                                                 BY THE COURT:


                                                 /s/ Joy Flowers Conti
                                                 Joy Flowers Conti
                                                 Senior United States District Court Judge
